Case 4:21-cv-00264-RP-HCA Document 3-3 Filed 09/03/21 Page 1 of 4



                              DECLARATION OF JONATHAN CRAIG

           COMES NOW, Johnathan Craig and pursuant to 28 U.S.C. § 1746, declares under

  penalty of perjury that the following is true and correct:

      1.   My name is Johnathan Craig, and I am over 18 years old. I have personal knowledge of

           the facts as stated herein.

     2. I am the father ofE.C., who is five years old and is in kindergarten and has been

           diagnosed with Down's syndrome, chronic seizures, and chronic respiratory problems.

           See Exhibit A (Letter from Doctor Lisa Menzies). These conditions put her at higher risk

           for severe complications if she were to become infected with COVID-19. E.C. is in a

           wheelchair and is nonverbal.

     3. I am also the father of J.C., who is eleven years old and is in fifth grade and has been

           diagnosed with sickle cell anemia and functional asplenia and has a compromised

           immune system. See Exhibit B (Letter from Doctor Lisa Menzies). These conditions put

           him at higher risk for severe complications ifhe were to become infected with COVID-

           19.

     4. I also have two other children who are not disabled and do not have health conditions that

           put them at greater risk for severe complications should they contract COVID-19-A.C.,

           who is eight years old and in third grade, and A.C., who is five years old and in

           kindergarten.

      5. Because all my children are under the age of twelve, they are not eligible to receive any

           of the currently authorized COVID-19 vaccines.
Case 4:21-cv-00264-RP-HCA Document 3-3 Filed 09/03/21 Page 2 of 4


   6. Last year, my children attended school at the Urbandale School District. We have moved

      to Waterloo in Black Hawk County, Iowa, and this year they would be attending the

      Waterloo School District.

   7. My children, E.C. and J.C., receive disability supports, services, and accommodations,

      and J.C. has a 504 plan.

   8. The medical provider for my children recommends having J.C. do remote learning due to

      bis medical complexities and a lack of mask or vaccine mandate in school. See Exhibit B

      (Letter from Doctor Lisa Menzies). For E.C., my children's medical provider

      recommends having her do distance learning at this time, considering the "high risk of

      severe complications from infection with SARS-CoV-2 infection" due to being "a

      medically complex child" and the lack of a vaccine for her age group. See Exhibit A

      (Letter from Doctor Lisa Menzies). For my children with no medical conditions, the

      children's doctor recommends that they do remote learning as well due to the siblings'

      medical complexities, the lack of a mask mandate or vaccine mandate at school, and the

      current level of the Delta variant of COVID-19 and the increased infectivity and severity

      of disease seen in children related to the variant. See Exhibits C and D (Letters from

      Doctor Lisa Menzies).

   9. The Waterloo School District for the upcoming school year is offering a 100% remote

      learning option. The remote learning option does not provide the necessary supports,

      services, and accommodations for my disabled children, including direct instruction and

      socialization with peers.

   10. My child, J.C., utilized the 100% remote option last year. My child struggled to get the

      academic help he needed and suffered in terms of bis emotional and mental health. He
Case 4:21-cv-00264-RP-HCA Document 3-3 Filed 09/03/21 Page 3 of 4


        also fell behind in both reading and math. My child, E.C., attended neither in-person nor

        100% online learning last year and was held back due to her health issues and the

        challenges online learning presented. In-person instruction provides the best mode of

        instruction for my children's needs.

     11. Last year, the Waterloo School District had a mask mandate until the mask mandate ban

        went into effect. Once the ban went into effect, most teachers and students no longer

        wore masks.

     12. Since the start of school, most teachers and students are not wearing masks at school.

        There is no social distancing in the classrooms or in the lunchroom.

     13. As of August 30, 2021, the Waterloo School District's COVID-19 dashboard shows 12

         students and 6 teachers are positive for COVID-19 in all elementary schools. The

         dashboard shows that 59 students and less than 6 teachers are quarantining due to

         exposure to someone who tested positive for COVID-19 in all elementary schools.

     14. For this school year, we have made the difficult decision to again keep our children at

         home and do remote learning. I work both in-person and remotely while my wife is

         staying home with the children to assist with online learning. Like last year, J.C. does not

         have the socialization he needs with online learning and has difficulty focusing for long

         periods of time. I fear he may fall further behind this year. Although E.C. has been

         issued a school computer, she has been unable do to online learning due to the extent of

         her disabilities.

      15. My wife and I have been forced to choose between our children's education and their

         health.
Case 4:21-cv-00264-RP-HCA Document 3-3 Filed 09/03/21 Page 4 of 4

          16. I am seeking to have HF847 blocked so that my school will be able to require universal

              masking as necessary to meet its obligations to my children.

              I swear under penalty of perjury under the laws of the United States that the foregoing is

       true and correct to the best of my knowledge.

              Dates this   3   day of September 2021, at Waterloo, Iowa.
